                         UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF KANSAS
                                   Wichita Division

In re:                               )
                                     )                       Bankr. Case No.: 19-10065
PARIS EDWARD THOMAS LOYLE and        )
KATHERINE CHRISTINE LOYLE,           )                       Chapter 7
                                     )
           Debtors.                  )
                                     )
                                     )
PARIS EDWARD THOMAS LOYLE and        )                       Adv. Proc. No.: 20-05073
KATHERINE CHRISTINE LOYLE,           )
                                     )
           Plaintiffs,               )
                                     )
v.                                   )
                                     )
UNITED STATES DEPARTMENT OF          )
EDUCATION, NAVIENT SOLUTIONS, LLC,   )
EDUCATIONAL CREDIT MANAGEMENT        )
CORPORATION, FEDLOAN SERVICING,      )
EDUCATIONAL COMPUTER SYSTEMS, INC., )
R3 EDUCATION, INC, FIRSTMARK         )
SERVICES, CITIZENS ONE, TAB BANK and )
AMERICAN EDUCATION SERVICES,         )
                                     )
           Defendants.               )
                                     )

                                 CERTIFICATE OF SERVICE

        I, the undersigned, do hereby certify that I am over 18 years of age and not a party to the
matter concerning which service was accomplished. I further certify that on the 9th day of June,
2020, I served via email, a true and correct copy of the following documents:

                            NAVIENT SOLUTIONS, LLC’S
                  FIRST SET OF INTERROGATORIES TO PLAINTIFFS

                  NAVIENT SOLUTIONS, LLC’S FIRST REQUEST FOR
                   PRODUCTION OF DOCUMENTS TO PLAINTIFFS

                          NAVIENT SOLUTIONS, LLC’S
             FIRST SET OF REQUESTS FOR ADMISSION TO PLAINTIFFS




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              NAVIENT SOLUTIONS, LLC’S DISCLOSURES PURSUANT
              TO BANKRUPTCY RULE 7026 AND FED.R.CIV.P. 26(a)(1)



upon the following persons:

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       Wichita, KS 67202
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                                By:     /s/ David A. Gellis
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